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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 18, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 23-CR-73 (CKK)

¥, : GRAND JURY ORIGINAL
HECTOR DAVID VALDEZ, : VIOLATIONS:
also known as “Curl,” : 21 U.S.C. § 846
CRAIG EASTMAN, : (Conspiracy to Distribute and Possess
CHARLES JEFFREY TAYLOR, : With Intent to Distribute Four Hundred
RAYMOND NAVA, JR. : Grams or More of a Mixture and
also known as “Raymond Nava,” : Substance Containing a Detectable
ULISES ALDAZ, é Amount of Fentanyl)
MAX ALEXANDER CARIAS : 21 U.S.C. § 841(a)(1) and § 841(b)(1)(C)
TORRES, : (Unlawful Possession With Intent to
also known as : Distribute Fentanyl)

“Max Alexander Carias,” : 21 U.S.C. § 860(a)
: (Unlawful Possession With Intent to
Distribute Fentanyl Within 1000 Feet of
a Protected Location)
: 18 U.S.C. § 1956(h)
TERON DEANDRE MCNEIL, : (Conspiracy to Launder Monetary

also known as “Wild Boy,” : Instruments)
MARVIN ANTHONY BUSSIE, :

also known as “MoneyMarr,” : FORFEITURE:
MARCUS ORLANDO BROWN, : 21 U.S.C. § 853(p);
THOMAS COLUMBIAN, : and 28 U.S.C. § 2461(c)

also known as “Cruddy Murda,”
WAYNE RODELL CARR-MAIDEN,
also known as

“Wayne Maiden,” and

ANDRE MALIK EDMOND,

also known as “Draco,”

Defendants.

INDICTMENT

The Grand Jury charges that:

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COUNT ONE

From on or about January 2021 to the Present, within the District of Columbia, the Eastern
District of Virginia, the Central District of California, the District of Maryland, the Middle District
of Tennessee and elsewhere, HECTOR DAVID VALDEZ, also known as “Curl,” CRAIG
EASTMAN, CHARLES JEFFREY TAYLOR, RAYMOND NAVA, JR., also known as
“Raymond Nava,” ULISES ALDAZ, MAX ALEXANDER CARIAS TORRES, also known
as “Max Alexander Carias,”

TERON DEANDRE MCNEIL, also known as “Wild Boy,”
MARVIN ANTHONY BUSSIE, also known as “MoneyMarr,” MARCUS ORLANDO
BROWN, THOMAS COLUMBIAN, also known as “Cruddy Murda,” WAYNE RODELL
CARR-MAIDEN, also known as “Wayne Maiden,” and ANDRE MALIK EDMOND, also
known as “Draco,” did knowingly and willfully combine, conspire, confederate and agree
together, and with other persons both known and unknown to the Grand Jury, to unlawfully,
knowingly and intentionally distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of fentanyl, a Schedule II narcotic drug controlled substance, and
the amount of said mixture and substance, which includes the reasonably foreseeable conduct of
all the members of the conspiracy, was four hundred grams or more, in violation of Title 21, United
States Code, Sections 841(a)(1) and 841(b)(1)(A)(vi).

(Conspiracy to Distribute and Possess With Intent to Distribute 400 Grams or More
of a Mixture and Substance Containing a Detectable Amount of Fentanyl, in violation
of Title 21, United States Code, Section 846)
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COUNT TWO

On or about December 4, 2021, within the District of Columbia, CRAIG EASTMAN, did
unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and substance
containing a detectable amount of fentanyl, a Schedule II narcotic drug controlled substance.

(Unlawful Possession With Intent to Distribute Fentanyl, in violation of Title 21,
United States Code, Section 841(a)(1) and 841(b)(1)(C))

COUNT THREE

On or about December 4, 2021, within the District of Columbia, CRAIG EASTMAN, did
unlawfully, knowingly and intentionally possess with intent to distribute a mixture and substance
containing a detectable amount of fentanyl, a Schedule II narcotic drug controlled substance, in
violation of Title 21, United States Code, Section 841(a)(1), within one thousand feet of two
protected locations—that is, the real property comprising Rocketship Rise Academy Public
School, a public elementary school in the District of Columbia, and the real property comprising
the Woodland Terrace DC Public Housing Apartments, a housing facility owned by a public
housing authority.

(Unlawful Possession With Intent to Distribute Fentanyl Within 1000 Feet of a
Protected Location, in violation of Title 21, United States Code, Section 860(a))

COUNT FOUR

On or about January 26, 2022, within the District of Columbia and the District of Maryland,
CRAIG EASTMAN, did unlawfully, knowingly, and intentionally possess with intent to
distribute a mixture and substance containing a detectable amount of fentanyl, a Schedule II
narcotic drug controlled substance.

(Unlawful Possession With Intent to Distribute Fentanyl, in violation of Title 21,
United States Code, Section 841(a)(1) and 841(b)(1)(C))
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COUNT FIVE
Beginning on or about August 2022, and continuing through at least April 2023, defendants
MAX ALEXANDER CARIAS TORRES, also known as “Max Alexander Carias,”

did
knowingly and willfully combine, conspire, confederate and agree together and with other persons,
both known and unknown to the Grand Jury, within the District of Columbia and elsewhere, to
commit offenses against the United States in violation of Title 18, United States Code, Section
1956(a)(2)(A), to wit: to transport, transmit and transfer and attempt to transport, transmit and
transfer a monetary instrument and funds from a place in the United States to and through a place
outside the United States, with the intent to promote the carrying on of specified unlawful activity,
that is, violations of Title 18, United States Code, Section 846, as charged in Count One, all in
violation of Title 18, United States Code, Section 1956(a)(2)(A).

(Conspiracy to Launder Monetary Instruments, in violation of Title 18, United States
Code, Section 1956(h))

FORFEITURE ALLEGATION

1. Upon conviction of the offense alleged in Counts One, Two, Three, and Four, and
of this Indictment, the defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853 any
property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the
said violations and any property used, or intended to be used, in any manner or part, to commit, or
to facilitate the commission of the said violations.

2. If any of the property described above as being subject to forfeiture, as a result of’
any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;
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(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value: or
(e) has been commingled with other property that cannot be subdivided without
difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

(Criminal Forfeiture, pursuant to Title 21, United States Code, Section 853(p), and Title
28, United States Code, Section 2461(c))

A TRUEBELL:

; FOREPERSON.
Moura IM Crrawres (CCU

Attorney of the United States in
and for the District of Columbia.
